Case 2:03-cv-02528-.]PI\/|-STA Document 48 Filed 08/22/05 Page 1 of 3 Page|D 69

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Plaintiff,
v. No. 03-2528 Ml/An
AMISUB (SFH), INC. d/b/a.
ST. FRANCIS I'IOSPITA.L and
B. LAWSON, M.S.,

Defendants.

 

ORDER SETTING ASIDE MAGISTRATE JUDGE’S MAY 27 , 2005, ORDER
AND ORDER SETTING TELEPHONIC RULE 16(b)SCHEDULING CONFERENCE

 

The United States Magistrate Judge entered an Order Granting
in Part and Denying in Part Emergency Motion to Extend All
Deadlines and to Set a New Rule lG(b) Scheduling Conference on
May 27, 2005. Plaintiff filed an objection to that order on June
17, 2005, to which Defendants responded on June 28, 2005.

The Court has reviewed the parties' original motions, the
magistrate judge's order, Plaintiff’s objection, and Defendants'
response. Based On this review, the Court finds it appropriate
to set aside the magistrate judge’s May 27, 2005, Order and set a
new trial schedule.

Accordingly, the Court sets a telephonic Rule l6(b)
Scheduling Conference in this case for Wednesdayl August 31,

2005, at 9:00 a.m. Plaintiff Card shall initiate the call to the

Thfs document entered on the docket sheet in comp!lance n f
wlth Rule 58 and/or 79(a) FRCP on ‘ 5

Case 2:03-cv-02528-.]PI\/|-STA Document 48 Filed 08/22/05 Page 2 of 3 Page|D 70

Court with all parties on the line.

So ORDERED this 1? day of August, 2005.

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JON P. MCCALLA
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Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
case 2:03-CV-02528 Was distributed by faX, mail, or direct printing on
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US DISTRICT COURT

